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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 UNITED STATES OF AMERICA                                *    CRIMINAL NO. 98-30010-22

 VERSUS                                                  *    JUDGE JAMES

 BRANDON CARYELL FLINTROY                                *    MAGISTRATE JUDGE HAYES


                             REPORT AND RECOMMENDATION

        Before the undersigned Magistrate Judge, on reference from the District Court, is movant

 Brandon Flintroy’s motion for reduction of sentence under 18 U.S.C. § 3582(c). (Doc. #1261).

 Because Flintroy is ineligible for a reduction in sentence, it is recommended that the motion be

 DENIED.

                                         BACKGROUND

        In 1999, Flintroy pled guilty to Count 1 of an indictment charging him with possession

 with intent to distribute cocaine base, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

 (Docs. #588-93). Flintroy was sentenced to imprisonment for a term of 70 months, to be

 followed by a term of supervised release. (Doc. #805). After serving that sentence, Flintroy

 violated the conditions of his supervised release. (Doc. #1171). Consequently, the court revoked

 Flintroy’s supervised release and sentenced him, in November 2006, to a term of imprisonment

 of 22 months, which he is currently serving. (Doc. #1239).

                                      LAW AND ANALYSIS

        Flintroy seeks a reduction of his term of imprisonment based on Amendment 7061 to the



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          This amendment was further amended in the technical and conforming amendments set
 forth in Amendment 711, also effective November 1, 2007. United States v. Howard, No.
 07-10592, 2008 U.S. App. LEXIS 12152 (5th Cir. June 6, 2008) (unpublished).
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 United States Sentencing Guidelines (hereinafter the “Cocaine Base Amendment”), which

 reduces the base offense level for cocaine base offenses by two levels. The Sentencing

 Commission (the “Commission”) amended U.S.S.G. § 1B1.10 to make the Cocaine Base

 Amendment retroactive, effective March 3, 2008. U.S.S.G. App. C, Amend. 713.

        Section 3582(c)(2) gives courts discretionary authority to reduce terms of imprisonment

 under certain circumstances. Courts can reduce a defendant’s previously imposed sentence if “a

 defendant . . . has been sentenced to a term of imprisonment based on a sentencing range that has

 subsequently been lowered by the Sentencing Commission, pursuant to 28 U.S.C. 994(o).”

 § 3582(c)(2). Under § 3582, courts can reduce a term of imprisonment only if, inter alia, the

 reduction would be “consistent with applicable policy statements issued by the Sentencing

 Commission.” Id. Thus, “not all defendants whose sentences are based . . . on involvement with

 crack cocaine are eligible” for a reduction. United States v. Cutler, No. 97-CR-40018, 2008 WL

 961211, at *2 (S.D.Ill. Apr. 8, 2008).

        Flintroy is ineligible because a reduction of his sentence would be inconsistent with one

 of the Commission’s policy statements. Specifically, the policy statement that governs sentence

 reductions based on guideline amendments states that “[o]nly a term of imprisonment imposed as

 part of the original sentence is authorized to be reduced under this section. This section does not

 authorize a reduction in the term of imprisonment imposed upon a revocation of

 supervised release.” U.S.S.G. § 1B1.10, Application Note 4 (emphasis added). Flintroy is

 serving a term of imprisonment for violating the conditions of his supervised release and is




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 therefore ineligible.2 Cutler, 2008 WL 961211; United States v. Anthony, No. Cr-95-0105, 2008

 WL 2143702 (E.D.Wash. May 21, 2008); United States v. Holt, No. CR 95-2018, 2008 WL

 2609392 (N.D.Iowa June 30, 2008); see also United States v. Lopez, No. 2:01-cr-41, 2008 WL

 822005 (M.D.Fla. Mar. 26, 2008) (denying motion for reduction by defendant serving sentence

 for violation of supervised release on different grounds); United States v. Gaskins, No. 2:96-cr-

 76, 2008 U.S. Dist. LEXIS 22862 (M.D.Fla. Mar. 24, 2008) (same); United States v. Banks, No.

 2:97-cr-78, 2008 U.S. Dist. LEXIS 22864 (M.D.Fla. Mar. 24, 2008) (same); United States v.

 Garth, No. 94-147-CR-1, 2008 WL 2115117 (S.D.Ind. May 1, 2008) (same).

        Flintroy argues that this court is not bound by the aforementioned policy statement. He

 contends that under United States v. Booker the policy statement is not a prohibition; instead,

 under Booker it becomes merely advisory. See 543 U.S. 220, 245 (2005). For the following

 reasons, the undersigned concludes that Booker does not support Flintroy’s position.

        Courts have the authority to reduce sentences only when granted the power to do so by

 Congress. United States v. Davis, 187 Fed. App’x 377 (5th Cir. 2006) (unpublished) (“A district

 court has the authority to reduce a sentence under § 3582(c)(2) only if the Sentencing

 Commission has amended a pertinent guideline and has made that amendment retroactively

 applicable.”); Gaskins, 2008 U.S. Dist. LEXIS 22862, at *7 (“The Court has no inherent power

 to modify or reduce a sentence, but rather must look to specific parameters of federal statutes . .

 .”) (citing United States v. Diaz-Clark, 292 F.3d 1310, 1315 (11th Cir. 2002)). By passing the

 Cocaine Base Amendment, Congress allowed for sentence reductions for only some of the


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           Flintroy’s contention that Application Note 4 does not apply because he served the
 entirety of his original sentence, (see Doc. #1267, p.3-4), finds no support in any authority of
 which this court is aware and is inconsistent with a plain reading of Note 4.

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 defendants whose sentences are based on involvement with crack cocaine. Accordingly,

 Congress has limited the circumstances in which courts may reduce sentences under § 3582. One

 such limitation, discussed above, is the basis for Flintroy’s ineligibility.

        While the Sentencing Guidelines are no longer mandatory post-Booker, Congress

 maintains the power to dictate sentence reduction eligibility just as it maintains the ability, for

 example, to enact statutory minimum sentences. See United States v. Harper, 527 F.3d 396, 411

 (5th Cir. 2008) (“post-Booker sentencing courts lack discretion to depart below relevant statutory

 minimums.”). Thus, Booker and its progeny have not altered the power of Congress to provide

 or limit the courts’ authority to reduce sentences. Because Congress has not granted courts the

 authority to reduce terms of imprisonment for defendants whose supervised release has been

 revoked, Flintroy is ineligible for a reduction.

        In addition, it is worth noting that, even before Booker was decided, district courts had

 discretion in sentencing defendants following supervised release violations. Thus, the district

 judge in this case possessed and exercised discretion when he sentenced Flintroy after he violated

 the terms of his supervised release. Nonetheless, the court sentenced Flintroy to a term of 22

 months imprisonment. As a result, it is not the case, as Flintroy strongly implies, that he was

 denied the benefit of a sentence based on advisory Guidelines.

        Finally, the undersigned disagrees with the contention that the exclusion of post-

 revocation offenders from relief under § 3582 violates the Equal Protection Clause of the United

 States Constitution. Flintroy suggests that there is no rational basis for preventing post-

 revocation offenders from receiving relief under the Cocaine Base Amendments; however,

 defendants who have violated the terms of their supervised relief are not similarly situated to


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 offenders who are still serving their sentences. While revocation offenders have obviously

 demonstrated that they continue to pose a threat to society, there is no comparable available

 information relating to prisoners serving their original sentences. Thus, Congress had a rational

 basis for withholding leniency from those sentenced for supervised release violations.

        For these reasons, IT IS RECOMMENDED that Flintroy’s motion be DENIED. Under

 the provisions of 28 U.S.C. §636(b)(1)(C) and FRCP Rule 72(b), the parties have ten (10)

 business days from service of this Report and Recommendation to file specific, written

 objections with the Clerk of Court. A party may respond to another party’s objections within ten

 (10) business days after being served with a copy thereof. A courtesy copy of any objection or

 response or request for extension of time shall be furnished to the District Judge at the time of

 filing. Timely objections will be considered by the District Judge before he makes a final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

 FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

 REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

 SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

 FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

 FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 16th day of July, 2008.




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